
EMAS, J.
Jammie Taylor appeals an order denying (as untimely) a motion to mitigate sentence pursuant to Florida Rule of Criminal Procedure 3.800(c). While an order denying, on its merits, a motion to mitigate a sentence is not appealable, see e.g., Smith v. State, 902 So.2d 293 (Fla. 3d DCA 2005), the appeal of an order dismissing or denying the motion as untimely may be treated as a petition for writ of certiorari. Iglesias v. State, 76 So.3d 370 (Fla. 3d DCA 2011). We do so here and, having reviewed the record, conclude the trial court correctly determined the motion was untimely.
Petition dismissed.
